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                                                                        Friday, 26 October, 2018 02:36:59 PM
                                                                                 Clerk, U.S. District Court, ILCD

                              UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF ILLINOIS
                                  SPRINGFIELD DIVISION


 NANCY STONE
                                                         CASE NO.: 3:18-cv-003276
                      Plaintiff,
                                                         JUDGE:
         -v-

 T-H PROFESSIONAL AND MEDICAL                            COMPLAINT
 COLLECTIONS, LTD.                                      JURY DEMAND ENDORSED HEREON

                     Defendant.


      Plaintiff, Nancy Stone, for her complaint against T-H Professional and Medical Collections,

Ltd. (“Defendant”), states as follows:

                                      NATURE OF THE ACTION

       1.      Plaintiff brings this action seeking damages pursuant to the Fair Debt Collection

Practices Act, 15 U.S.C. §§ 1692 et seq. (“FDCPA”), and the Illinois Consumer Fraud and

Deceptive Business Practices Act, 815 ILCS 505/10a (“ICFA”), for Defendant’s unlawful

collection practices as described more fully in this complaint.

                                     JURISDICTION AND VENUE

       2.      This action arises under and is brought pursuant to the FDCPA. Subject matter

jurisdiction is therefore conferred upon this Court by 15 U.S.C § 1692k and 28 U.S.C. §§ 1331,

1337, as the action arises under the laws of the United States. Supplemental jurisdiction exists for

the state law claim pursuant to 28 U.S.C. § 1367.

       3.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391 as Defendant transacts

business in the Central District of Illinois and the events and/or omissions giving rise to the claims

made in this complaint occurred within the Central District of Illinois.
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                                               PARTIES

        4.      Plaintiff, Nancy Stone (“Ms. Stone”), is a natural adult person residing in

Jacksonville, Illinois, which lies within the Central District of Illinois.

        5.      Ms. Stone is a “consumer” as that term is defined by § 1692a(3) of the FDCPA.

        6.      Ms. Stone is a “person” as that term is defined by the ICFA.

        7.      Defendant, T-H Professional and Medical Collections, Ltd., is a Nevada

corporation in the business of collecting consumer debts on behalf of others within the State of

Illinois and throughout the United States. As such, Defendant regularly uses the mails and/or

telephone to collect, or attempt to collect, delinquent consumer accounts.

        8.      In its communications to consumers, Defendant identifies itself as a “debt collector.”

        9.      Defendant is a “debt collector” as that term is defined by § 1692a(6) of the FDCPA.

       10.      Defendant is a “person” as that term is defined and/or used within the ICFA.

       11.      Defendant acted through its agents, employees, officers, members, directors, heirs,

successors, assigns, principals, trustees, sureties, subrogees, representatives and/or insurers at all

times relevant to this action.

                                 FACTS SUPPORTING CAUSES OF ACTION

       12.      On or around October 15, 2018, Ms. Stone was checking her credit report and

noticed two (2) entries bearing the name “PMC” reporting in collection status for Central Illinois

Radiological Association (the “Subject Debt”). Relevant pages from Ms. Stone’s Trans Union

Credit Report, dated October 8, 2018, are attached to this complaint as Exhibit A (the “Credit

Report”).

       13.      On the Credit Report, Defendant refers to themselves as “PMC,” which stands for

Defendant’s incorporated name, T-H Professional and Medical Collections, Ltd. Defendant also


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identifies   itself   on   its   website   as   “PMC”      and   its   abovementioned     true      name

(https://www.promedcollections.com/). However, “PMC” is not registered under Defendant’s

name on the Illinois Secretary of State website. See the relevant Illinois Secretary of State

Corporation File Detail Report attached to this complaint as Exhibit B.

       14.       Ms. Stone did not recognize these accounts as belonging to her.

       15.      On or around October 15, 2018, Ms. Stone called Defendant to attain more

information about the entry appearing on her credit report and the Subject Debt Defendant was

attempting to collect (the “Phone Call”).

       16.      During the Phone Call, Defendant’s agent informed Ms. Stone that she had multiple

delinquent accounts totaling $250.13, some of which went delinquent since 2012. .

       17.      Defendant’s agent subsequently attempted to collect payment of the Subject Debt

from Ms. Stone and informed her that once the balance was paid the Subject Debt would be

removed from her credit report.

       18.      The applicable statute of limitations for the Subject Debt states, in relevant part:

                “Except as provided in Section 2-725 of the ‘Uniform Commercial
                Code’, approved July 31, 1961, as amended, and Section 11-13 of
                ‘The Illinois Public Aid Code’, approved April 11, 1967, as
                amended, actions on unwritten contracts, expressed or implied . . .
                shall be commenced within 5 years next after the cause of action
                accrued.” See 735 ILCS § 5/13-205.

       19.      Thus, given the applicable five (5) year statute of limitations and the fact that the

Subject Debt was delinquent in 2012, as of October 15, 2018, the date of the Phone Call, the

Subject Debt was a time-barred debt, i.e., it fell outside the applicable statute of limitations.

       20.      Despite the time-barred status of the Subject Debt, at no point during the Phone

Call did Defendant’s agent disclose or explain to Ms. Stone that the Subject Debt was time-barred

or that Defendant could not sue Ms. Stone to collect it.

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       21.      Despite the time-barred status of the Subject Debt, at no point during the Phone

Call did Defendant’s agent disclose or explain to Ms. Stone that by paying, or just agreeing to pay,

any portion of the Subject Debt, or merely acknowledging the Subject Debt as valid, it could have

the effect of resetting the applicable statute of limitations as to the Subject Debt, potentially

subjecting Plaintiff to further legal liability.

       22.      Despite Defendant only being registered under the name T-H Professional and

Medical Collections, Ltd. Defendant attempted to collect the Subject Debt from Ms. Stone under

the assumed name “PMC.” Defendant’s use of this pseudonym in its attempt to collect the Subject

Debt is a violation of the FDCPA.

       23.      Confused and concerned after the Phone Call and her Credit Report, and

questioning the validity of Defendant’s claim to the Subject Debt, Ms. Stone reached out to her

attorneys for assistance and clarification regarding her rights.

       24.      After a reasonable time to conduct discovery, Ms. Stone believes she can prove that

all actions taken by Defendant as described in this complaint were taken willfully and/or with

knowledge that its actions were taken in violation of the law.

                                                   DAMAGES

        25.     Ms. Stone was misled by Defendant’s collections actions.

        26.     Ms. Stone justifiably fears that, absent this Court’s intervention, Defendant will

continue to attempt to collect payment from her using abusive, deceptive and unlawful means, and

ultimately cause her unwarranted economic harm.

        27.     Due to Defendant’s conduct, Ms. Stone was forced to hire counsel and her damages

therefore include reasonable attorneys’ fees incurred in prosecuting this action.




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       28.     After a reasonable time to conduct discovery, Ms. Stone believes she can prove that

all actions taken by Defendant as described in this complaint were taken willfully and/or with

knowledge that its actions were taken in violation of the law.

       29.     Due to Defendant’s conduct, Ms. Stone is entitled to statutory damages, punitive

damages and all other appropriate measures to punish and deter Defendant and other debt

collection agencies from engaging in the unlawful collection practices described herein.

                                     GROUNDS FOR RELIEF

                                          COUNT I
                   VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                        15 U.S.C. §§ 1692e, e(2)(A), e(10), e(14) and f

       30.     All prior paragraphs are incorporated into this count by reference.

       31.     The FDCPA states, in relevant part:

                    “A debt collector may not use any false, deceptive, or misleading
                   representation or means in connection with the collection of any debt.
                   Without limiting the general application of the foregoing, the following
                   conduct is a violation of this section: (2) The false representation of --
                   (A) the character, amount, or legal status of any debt; (10) The use of
                   any false representation or deceptive means to collect or attempt to
                   collect any debt or to obtain information concerning a consumer. (14)
                   The use of any business, company, or organization name other than the
                   true name of the debt collector’s business, company, or organization.”
                   15 U.S.C. §§ 1692e, e(2)(A), e(10) and e(14).

                   “A debt collector may not use unfair or unconscionable means to collect
                   or attempt to collect any debt.” 15 U.S.C. § 1692f.

       32.     Defendant violated 15 U.S.C. §§ 1692e, e(2)(A), e(10), and f during the Phone Call

by attempting to collect the Subject Debt after failing to disclose information to Plaintiff regarding

the Subject Debt’s time-barred status and the potential legal consequences of Plaintiff paying, or

agreeing to pay, upon the time-barred Subject Debt.




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       33.     Defendant knew, or should have known, that the Subject Debt was time-barred, yet

failed to provide complete and/or accurate disclosure of same to Plaintiff.

       34.     Such omissions served only to confuse and intimidate Plaintiff in the hopes that she

waived her rights and affirmative defenses under the law. Plaintiff was unable to adequately

determine the character and legal status of the Subject Debt based upon Defendant’s

representations and/or omissions, and was unable to adequately determine the potential legal

consequences of making, or arranging to make, a payment on the Subject Debt.

       35.     Defendant violated 15 U.S.C. §§ 1692e and e(14), by using “PMC”, a name

different than Defendant’s true name, T-H Professional and Medical Collection, Ltd., in both

reporting the Subject Debt on the Credit Report and by use of the pseudonym during the Phone

Call. This constitutes a false, deceptive and/or misleading representation in connection with the

collection of debt.

       36.     As an experienced debt collector, Defendant knows that its representations to

consumers concerning the legal status of an alleged debt owed, and the consumer’s rights under

the FDCPA and/or the applicable statute of limitations, are required to be truthful, complete and

accurate, and disclosed without any intent to mislead or deceive.

       37.     Further, as an experience debt collector, Defendant is aware that its representations

as to whom is collecting the debt are required to be accurate i.e., Defendant's failure to collect debt

under its true name, T-H Professional and Medical Collections, Ltd., constitutes a violation of the

FDCPA.

       38.     As Plaintiff had never previously dealt with or had a contractual relationship with

Defendant, Plaintiff was justifiably confused and skeptical of the representations and/or omissions




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regarding the legal status of the Subject Debt, as well as Defendant’s ability to legally collect upon

it.

         39.    As set forth in paragraphs 25 through 29 above, Plaintiff has been harmed and has

suffered damages as a result of Defendant’s unlawful collection practices as described herein.

                                          COUNT II
      VIOLATIONS OF THE ILLINOIS CONSUMER FRAUD AND DECEPTIVE BUSINESS PRACTICES ACT
                                  815 ILCS §§ 505/2, 505/10a

         40.    All prior paragraphs are incorporated into this count by reference.

         41.    The ICFA states, in relevant part:

                   “Unfair methods of competition and unfair or deceptive acts or
                   practices, including but not limited to the use or employment of any
                   deception, fraud, false pretense, false promise, misrepresentation or the
                   concealment, suppression or omission of any material fact, with intent
                   that other rely upon the concealment, suppression or omission of such
                   material fact . . . in the conduct of any trade or commerce are hereby
                   declared unlawful whether any person has in fact been misled, deceived
                   or damaged hereby.” 815 ILCS § 505/2.

                   “Any person who suffers actual damage as a result of a violation of this
                   Act committed by any other person may bring an action against such
                   person. The court, in its discretion may award actual economic damages
                   or any other relief which the court deems proper.” 815 ILCS § 505/10a.

         42.    Defendant violated the ICFA, namely 815 ILCS § 505/2, by engaging in unfair,

abusive and deceptive conduct it its transaction with Plaintiff by attempting to collect the Subject

Debt during the Phone Call, after omitting any disclosure whatsoever to Plaintiff concerning the

time-barred status of the Subject Debt, namely, that Plaintiff could no longer be sued in connection

with the Subject Debt and/or that any payment she made towards the Subject Debt, or even

arranging to pay, could reset the applicable statute of limitations as to the entire balance of the

Subject Debt.




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       43.     Defendant knew, or should have known, that the Subject Debt was time-barred, yet

failed to provide a complete and/or accurate disclosure of the same to Plaintiff.

       44.     Defendant intended that Plaintiff rely on its unlawful communications in order to

procure immediate payment of the Subject Debt and/or prevent Plaintiff from exercising her rights.

       45.     As set forth in paragraphs 25 through 29 above, Plaintiff has been harmed and has

suffered damages as a result of Defendant’s unlawful collection practices as described herein.

       46.     Plaintiff is therefore entitled to relief pursuant to 815 ILCS § 505/10a.

       47.     Defendant’s actions as set forth in this complaint were malicious, willful and/or

undertaken with such reckless disregard of Plaintiff’s rights that malice may be inferred, subjecting

Defendant to liability for punitive damages under the ICFA in such an amount to be proven at trial.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, Nancy Stone, respectfully requests that this Court enter judgment

in her favor as follows:

          A. Awarding Plaintiff actual damages, in amounts to be determined at trial, as
             provided under 15 U.S.C. § 1692k(a)(1);

          B. Awarding Plaintiff statutory damages in the amount of $1,000.00, as provided
             under 15 U.S.C. § 1692k(a)(2)(A);

          C. Awarding Plaintiff punitive damages, in such an amount as determined by the
             jury, as provided under 815 ILCS § 505/10a;

          D. Awarding Plaintiff the costs of this action and reasonable attorneys’ fees, as
             provided under 15 U.S.C. § 1692k(a)(3); and

          E. Awarding Plaintiff any other relief as this Court deems just and appropriate.



DATED this 26th day of October, 2018.                 Respectfully Submitted,

                                                        /s/ Kristen C. Wasieleski


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                                                  Kristen C. Wasieleski #6303018
                                                  David S. Klain #0066305
                                                  CONSUMER LAW PARTNERS, LLC
                                                  333 N. Michigan Ave., Suite 1300
                                                  Chicago, Illinois 60601
                                                  (267) 422-1000 (phone)
                                                  (267) 422-2000 (fax)
                                                  kristen.w@consumerlawpartners.com

                                                  Counsel for Plaintiff


                                     JURY DEMAND

Pursuant to FED. R. CIV. P. 38(b), Plaintiff demands a trial to a jury on all issues of fact.

                                                  /s/ Kristen C. Wasieleski
                                                 Kristen C. Wasieleski #6303018
                                                 CONSUMER LAW PARTNERS, LLC




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                VERIFICATION OF COMPLAINT AND CERTIFICATION

STATE OF ILLINOIS                       )
                                        ) ss
COUNTY OF MORGAN                        )

Pursuant to 28 U.S.C. § 1746, Plaintiff, Nancy Stone, having first been duly sworn and upon oath,
verifies, ce1iifies, and declares as follows:

    1. I am the Plaintiff in this civil proceeding.

   2. I have read the above-entitled Complaint prepared by my attorneys and I believe that all of
      the facts contained in it are trne, to the best of my lmowledge, info1mation and belief fo1med
      after reasonable inqui1y.

   3. I believe that this Complaint is well grounded in fact and wananted by existing law or by a
      good faith argument for the extension, modification, or reversal of existing law.

   4. I believe that this Complaint is not interposed for any improper pmpose, such as to harass
      Defendant, cause unnecessaiy delay to Defendant, or create a needless increase in the cost of
      litigation to Defendant.

   5. I have filed this Complaint in good faith and solely for the purposes set forth in it.


   I declai·e under penalty of pe1jmy that the foregoing is trne and conect.


       Executed on this 26th day of October, 2018.




                                       Signature




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